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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                                Miami Division



  MOSHE ENBAR, et al.,                    Case No. 1:20-cv-22360-KMW

         Appellants,
   v.

  Fred Goodstein, et ux.

         Appellee.
                                   /




                           APPELLEE’S INITIAL BRIEF




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                         COUNTER-QUESTIONS PRESENTED

        1.     Did the Court below err in finding that the clear language of the

  Stipulation should control, and that therefore the Goodsteins’ claims against the

  debtor were not extinguished?

        2.     Did the Court below err in failing to find that the Goodsteins’

  judgments against Mr. Enbar are void?

        These questions should be answered in the negative.

                              PRELIMINARY STATEMENT

        The instant appeal consists of a last-ditch effort to avoid the determination of

  the United States Bankruptcy Court for the Southern District of Florida, Miami

  Division, by Judge A. Jay Cristol, and its interpretation of its own Order, wherein it

  concluded that the Settlement Hearing that it presided over and the subsequent Order

  issued in connection with that Hearing, did not preclude the Defendants herein from

  continuing to pursue their action against other parties in an existing action being

  litigated in New York State Court.

        Plaintiff’s’ instant appeal is nothing more than a continuation of the ongoing

  dilatory tactics and gamesmanship engaged in in his effort to avoid any

  consequences resulting from his scheme to convert a loan to an LLC to assets

  enjoyed by various of Plaintiff’s family members. In further carrying out this

  scheme, Plaintiff filed the instant adversary proceeding against Defendants in which

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  it seeks to enjoin them from pursuing their claims against Debtor Moshe Enbar’s

  family members—all individuals who were the beneficiaries of a series of fraudulent

  conveyances which had the effect of making the LLC to whom Defendants loaned

  money judgment-proof.

        The relief sought by Plaintiffs and the basis of said relief are in direct

  contradiction to the explicit language of the Stipulation Upon Order to which the

  Complaint and Motions refer. This Stipulation states: “The Stipulation shall be

  binding and upon and inure to the benefit of the Parties hereto and their respective

  successors and assigns. However, the Stipulation shall not be binding on any

  creditors, or otherwise affect the rights of any creditors, of the Estate.” See, Docket

  No. 32, at Exhibit “B”. The language in this Stipulation cannot be any clearer in that

  it does not bind or prevent any third-party creditors, including the Goodsteins, from

  enforcing their rights against others.

        Further, as the Goodsteins were not party to that Stipulation or settlement,

  there would have been no authority for the Goodsteins’ claims to be released, even

  if that was the purpose of the Stipulation, which it explicitly was not.

        Plaintiffs also take issue with the New York Court’s ability to determine

  whether the Stipulation released the Goodsteins claims, now arguing that New York

  did not have jurisdiction to make such a determination. However, not only is there

  no legitimate basis to contend that the New York State Court hearing the case lacks

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  jurisdiction, but, ironically, it was the Plaintiffs who affirmatively sought similar

  relief in the New York Court. It is obvious that they are only claiming a “lack of

  jurisdiction” is because they were unhappy with that Court’s decision.

        Lastly, Plaintiffs argue that the New York action should be stayed, pursuant

  to the Bankruptcy Code’s automatic stay provisions. As discussed in detail below,

  the automatic stay does not apply to proceedings against non-bankrupt entities such

  as Adam Enbar and Melissa Benzel except in very limited circumstances which are

  not present at bar.



                   DEFENDANTS’ STATEMENT OF MATERIAL FACTS

        On September 20, 2017, in the matter entitled In re: MOSHE ENBAR, Case

  No. 16-21262-AJC, in the United States Bankruptcy Court for the Southern District

  of Florida, Miami Division, Judge A. Jay Cristol issued an Order approving the

  trustee’s Motion and Stipulation to Compromise Controversy (hereinafter the

  “Stipulation”). This Stipulation was entered into by and between the Settling Parties,

  Moshe Enbar, Linda Enbar, Adam Enbar and Melissa Benzel. See, Docket No. 32,

  at Exhibit “B”

        The terms of the Stipulation were outlined in the September 19, 2017

  Settlement Transcript for In re: MOSHE ENBAR Case No. 16-21262-AJC, in the

  United States Bankruptcy Court for the Southern District of Florida, Miami Division

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  (hereinafter the “Settlement Transcript”). See, Docket No. 32, at Exhibit “C.”

  Present at this hearing was Mr. Angueira, the Chapter 7 Trustee in that case, and the

  debtor, Mr. Enbar. The Settlement Transcript made clear that, “this is an agreement

  between the trustee and debtor, and would have no affect on other parties, creditors,

  or interested parties…” See, Docket No. 32, at Exhibit “C.”

        Importantly, at the time that this Settlement was entered into, the Court was

  cognizant of the fact that the New York Action had already been initiated, on August

  4, 2016, prior to the initial filing of the debtor’s bankruptcy petition herein. On

  March 13, 2019 Defendants filed a motion to amend its complaint to inter alia add

  causes of action against Melissa Benzel. These causes of action were for Fraudulent

  Conveyance under New York Debtor and Creditor Law §§ 276, 278-a, and/or 279..

  By Decision and Order dated November 1, 2019, See, Docket No. 32, at Exhibit “D”,

  the New York Court granted Defendants’ motion. In so doing, it rejected these same

  Plaintiffs’ claim that the settlement in the Bankruptcy Court precluded the

  Goodsteins’ motion to amend their complaint.

        Notwithstanding the fact that the New York Court granted the amendment of

  the Defendant’s complaint on November 1, 2019, it was not until January 28, 2020

  that Plaintiffs herein commenced their Adversary Proceeding against Defendants,

  followed by the filing of a motion for summary judgment and motion for a

  preliminary injunction on May 1, 2020. See Docket Nos. 4 and 7. This procedural

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  posture, in and of itself, raises a question as to the motive behind the filing and of

  this appeal.

                             PROCEDURAL HISTORY

        The underlying Bankruptcy was filed as a voluntary Chapter 7 petition

  commenced by the Debtor through his former counsel, Christian J. Olsen, Esq. on

  August 16, 2016. Robert A. Angueira (the “Trustee”) was appointed to serve as the

  Chapter 7 Trustee which was assigned Case No.: 16-21262-AJC (the “Main

  Action”). The Trustee’s Motion and Stipulation to Compromise Controversy was

  so-ordered on September 21, 2017. See, Docket No. 32, at Exhibit B.

        On January 13, 2017, the Goodsteins filed their Adversary Complaint which

  was assigned Adv. No.: 17-01018-AJC (the “Adversary Action”). See Adversary

  Action ECF Doc. No. 1. On or about January 17, 2017, this Court issued a Summons

  and an Order Setting Filing and Disclosure Requirements for Pretrial and Trial in

  the Adversary Action. See Adversary Action ECF Doc. No. 2.

        On January 28, 2020 Plaintiffs filed the below adversary action under Adv.

  No.: 20-1028-BKC-AJC-A, seeking to enjoin the New York Action. On January 29,

  2020, Plaintiffs filed their motion for preliminary injunction, and on January 30,

  2020, they filed their motion for summary judgment. Both motions were denied by

  the appealed-from Order, dated May 26, 2020 (the “Decision”).




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                                     ARGUMENT

                                        POINT I

    THE BANKRUPTCY COURT CORRECTLY CONCLUDED THAT THE
     SETTLEMENT AGREEMENT DOES NOT BAR THE GOODSTEINS
           FROM PROSECUTING THE NEW YORK ACTION

        The contours of the Subject Settlement Agreement to which Plaintiffs seek to

  use as a sword against the Defendants, was outlined in the September 19, 2017

  Settlement Transcript in front of Judge A. Jay Cristol. See, Docket No. 32, at Exhibit

  “C.” Those present at the hearing were Mr. Angueira, the Chapter 7 Trustee in this

  case, Kevin Gleason, Esq., on behalf of Moshe Enbar and Amanda Peterson, Esq.,

  on behalf of Michele Goodstein. The purpose of the hearing was to approve the

  “agreement between the trustee and the debtor.” See, Docket No. 32, at Exhibit “C”

  at 3. This agreement, according to the Court transcript, “would have no affect on

  other parties, creditors, or interested parties in regard to Mr. Enbar.” See, Docket

  No. 32, at Exhibit “C” at 3. At the time of the hearing, no one objected to the

  limitations contained in the motion to approve the stipulation and it was made clear

  that only the “trustee would be bound by the terms of the stipulation as far as the

  debtor, related parties, interested parties…” See, Docket No. 32, at Exhibit “C” at 3.

  The Court went further to articulate this limitation so that there could be no question

  as to the limited scope of the settlement that was being entered into. In that regard,

  the Court made it clear that, “if this order is granted it would have no affect on the

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  rights of [Michele Goodstein].” See, Docket No. 32, at Exhibit “C” at 4. With no

  objections to this limitation, Mr. Angueira was directed by the Court to draw the

  order, spelling out again that, “this is a settlement between the trustee and Mr. Enbar,

  and has no affect or impact upon any of the rights of any parties, interested parties,

  creditors, claimants, whatever.” See, Docket No. 32, at Exhibit “C” at 5.

        Accordingly, to be charitable, Plaintiffs’ continued claim that this Settlement

  barred the Goodsteins’ right to seek to initiate and prosecute claims in the New York

  Action are misguided at best. Given the fact that Plaintiffs’ current counsel was

  present at the hearing, it is difficult to understand how he believes that the adversary

  proceeding and this instant appeal has any legitimacy. The Bankruptcy Court could

  not have provided more clarity than it did on this matter--the Settlement has no effect

  on the rights of the Goodsteins.

        Putting aside these express limitations, the Goodsteins’ causes of action to

  which Plaintiffs herein seek to preclude Defendants from pursuing in the New York

  Action belongs solely to them and, therefore, the trustee would not have even have

  had standing to assert or release this cause of action through the Settlement. See, In

  re Flagship Healthcare, Inc., 269 B.R. 721, 727 (Bankr. S.D. Fla. 2001) (“the only

  causes of action belonging to the debtor at the commencement of the case are

  property of the estate that a trustee can pursue… thus, if a specific cause of action is

  not property of the estate, a trustee has no authority to bring such an action… there

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  is no statutory authority [under which] a trustee may collect money not owed to the

  estate… a trustee ha[s] no standing to assert claims on behalf of specific creditors of

  a debtor.”)

        In order to determine whether or not a trustee has standing to sue, and

  therefore could seize control over a cause of action, a court looks to the complaint

  and the damages being alleged by the creditors. If, as in the New York Action at

  issue, the damages were suffered by the creditors and not the debtor, the trustee

  cannot pursue the cause of action. See, Hirsch v. Arthur Anderson & Co., 178 B.R.

  40, 44 (D.Conn. 1994) (ruling that the defendant’s conduct in recommending the

  purchase of unworthy properties caused damage to the creditors, not the debtor…

  and therefore the trustee could not pursue a cause of action.) Another key to

  understanding whether or not the trustee has this standing is determining whether

  the creditor alleges a particularized injury which would not be a general one which

  could have been brought by any creditor. Shafferman v. Queens Borough Pub.

  Library (In re JMK Constr. Grp., Ltd.), 502 B.R. 396, 404 (Bankr. S.D.N.Y. 2013).

  A cause of action is “considered personal if there is injury to only one or a select

  group of specific creditors, and other creditors have no interest in the action.” In re

  Cabrini Med. Ctr., 2012 WL 2254386, at *7 (Bankr. S.D.N.Y. June 15, 2012). A

  court may consider multiple factors when deciding whether or not an injury was

  personal to a specific creditor, including:

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               To whom any allegedly breached duty was owed; what
               was the injury underlying the claims; who suffered the
               injury; who would gain from the recovery, or lose out if
               the recovery were awarded to a different successful
               plaintiff; and, to the extent different from any of the
               foregoing, whether any creditor of the debtor could assert
               the claim… or just those creditors suffering a
               particularized injury.

        Buchwald v. The Renco Grp., Inc. (In re Magnesium Corp. of Am.), 399 B.R.

  722, 758 (Bankr. S.D.N.Y. 2009).

        As indicated, the New York claims belong solely to the Goodsteins and has

  stood unaffected by the Settlement and never belonged to the Trustee to begin with,

  as was made explicitly clear by this Court. The fact that the Stipulation states that

  the Bankruptcy Court “shall retain sole and exclusive personal and subject matter

  jurisdiction over the Parties and the subject matter, interpretation, effectuation, and

  enforcement of the terms of the Stipulation” does not affect the Goodsteins’ cause

  of action because that cause of action was never intended to be governed by or

  addressed by said Stipulation. Consequently, Plaintiffs’ claim and the relief sought

  is made in complete disregard to the contours of the settlement that was approved

  by this Court, as reflected in the September 19, 2017 transcript.

        Finally, and perhaps most telling, Plaintiffs have themselves sought relief in

  the New York Court regarding this matter. Not surprisingly, the only time Plaintiffs

  have sought to claim that the New York Court lacked the jurisdiction to “interpret”

  the Settlement Agreement, was after they sought relief from the New York Court
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  with respect to said agreement and then received an unfavorable decision from the

  New York Court. Such actions go beyond blatant forum shopping and borders on

  abuse of process.

        The simple fact remains that the Order approving the Stipulation was explicit

  in that it had no effect on the rights of any creditors, including the Goodsteins. The

  Bankruptcy Court was correct when it noted same, and when it went on to state that

  “the New York state court appropriately determined the exact same from the

  unambiguous language in this Court’s Order.” See, Docket No. 43.

                                          POINT II

              THE COURT WAS CORRECT IN HOLDING
              THAT THE BANKRUPTCY COURT HAD NO
          AUTHORITY TO RELEASE THE GOODSTEINS’ CLAIMS

        The Bankruptcy Court, in denying Plaintiffs’ motion and dismissing the

  Adversary Proceeding, goes on to state that the Stipulation “does not, and cannot,

  extinguish the Defendants’ claims against non-debtor Plaintiffs for the alleged

  fraudulent transfer of funds from the LLC. The LLC was not a party to the

  bankruptcy proceeding, and the Court had no authority to release the Goodsteins’ or

  the LLC’s claims against the non-debtor Plaintiffs concerning the transfer of funds

  from the LLC to them.” See, Docket No. 43 at p. 8. The Court went on to correctly

  point out that “the trustee’s authority extended only to property of the Debtor’s

  estate, not property belonging to the LLC or the Goodsteins.” See, Docket No. 43 at

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  p. 8. citing, In re Flagship Healthcare, Inc., 269 B.R. 721, 727 (Bankr. S.D.Fla.

  2001).

        Plaintiffs seek to get around this ruling by arguing that “creditors are

  precluded from independently pursuing causes of action settled by a bankruptcy

  trustee.” See, Defendants Brief p. 15, citing, In re Zwirn, 362 B.R. 536, 542 (Bankr.

  S.D. Fla. 2007). Plaintiffs correctly note that, under normal circumstances, the

  trustee has the exclusive jurisdiction to commence fraudulent conveyance actions.

  However, this is only true for the first two years after a petition is filed. Outside of

  that time period, other creditors also have the right to bring such an action pursuant

  to Bankruptcy Code 546. See, In re C.D. Jones & Co. Inc. 482 B.R. 449, 459-60

  (Bankr. N.D. Fla 2012) citing, Zwirn, supra and In re Klingman, 158 B.R. 109, 113

  (N.D. Ill. 1993). In C. D. Jones & Co., supra., the debtor, CD Jones & Company,

  Inc. (“Jones”) entered into a business transaction with the creditors, the Daakes. Id.

  at 452. A dispute arose between the parties, and in 2004 the Daakes sued the debtor

  for inter alia, breach of contract. Id. The Daakes were successful at trial and obtained

  a verdict in its favor in July of 2009. The Debtor filed its Chapter 7 petition on July

  30, 2009, which was after the jury verdict but was prior to the Final Judgment being

  signed by the Court. Id. The Daakes were the Debtor’s largest unsecured creditor.

  Id. The Debtor’s original “founders, principals and co-owners were Dennis and

  Cynthia Jones.” Id. At some point during the litigation, Dennis and Cynthia Jones

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  transferred their ownership interests in the Debtor to their son and his partner. Id. In

  April of 2007, the Debtor completed a transaction with the son and partner that

  resulted in the partner becoming the Debtor’s sole remaining shareholder. Id.

        The Jones Trustee was appointed on July 31, 2009. Id. The Trustee never filed

  any fraudulent conveyance actions. Id. As of June 2012, “after the expiration of the

  time provided under Section 546(a), but without notice to or consent by the Trustee,

  the Daakes filed a new law suit in state court against Dennis Jones, as Trustee of the

  “Jones Trust”, and the fiancée of the Joneses’ son. Id. at 453. Therein, the Daakes

  alleged that while Dennis and Cynthia Jones still owned their shares in the Debtor,

  they made various fraudulent transfers to the Jones Trust and the fiancée. Id.

         The Jones Court, in rejecting the Debtor’s attempt to dismiss the state court

  action, held as follows:

               [a]ny claims asserted in state court that belonged to the
               Debtor prepetition are Section 541 property of the
               bankruptcy estate that the Chapter 7 Trustee has standing
               to pursue. Any recovery from state court fraudulent
               transfer claims became property of the estate by virtue of
               Section 544(a) and the Trustee had exclusive standing to
               pursue such claims until the expiration of the limitations
               period of Section 546(a), at which point the [Plaintiffs]
               also had standing to pursue such claims. Whether the
               Trustee no longer has standing to pursue fraudulent
               transfer claims is an issue for the state court to decide.

        Id. at 452.

        At bar, the Debtor’s petition in Bankruptcy was filed on August 16, 2016.

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  Since this filing, the Trustee has not sought to commence any actions against the

  non-debtor Plaintiffs. As it has been more than two years since the filing of the

  Petition, the Trustee no longer has the exclusive jurisdiction to bring a fraudulent

  conveyance action or for any other claims, such as those claims asserted in the New

  York Action. As such, any suggestion that the Trustee currently has exclusive

  jurisdiction to assert such claims lacks merit.

            Finally, the claims being asserted against the Plaintiffs in the New York

  Action do not sound in “fraudulent conveyance” per se and therefore cannot be

  subject to an Automatic Stay. As found by the New York Court in analyzing same,

  it held

                  [a] bankruptcy court will stay proceedings against non-
                  bankrupt co-defendants in the ‘unusual situation’ where
                  ‘there is such identity between the debtor and the third-
                  party defendant that the debtor may be said to be the real
                  party defendant and that a judgment against the third-party
                  defendant will in effect be a judgment or finding against
                  the debtor.

            See, Docket No. 32 at Exhibit D, citing, A.H. Robins Co., Inc. v. Piccinin, 788

  F2d 994, 999 (4th Cir. 1986). Specifically, the New York Court noted that it was not

                  persuaded that plaintiffs’ original claims against Maurice
                  are so intertwined with the current claims that the
                  automatic stay in the Bankruptcy Proceeding encompasses
                  this action. An action claiming breach of contract and
                  conversion as against one party is quite different from a
                  suit alleging the fraudulent transfer of assets to and among
                  the settling parties of a bankruptcy proceeding and other
                  nonparty entities. Here, as in Madoff, ‘the non-debtor’s
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               liability rests upon [their] own breach of duty,’ namely the
               alleged fraudulent transfers of funds now held in the bank
               accounts of Magnum Realty, and by Linda to family trusts
               for the benefit of the family, and the bankruptcy stay is not
               at issue (Madoff at 68). Notably, the trustee specifically
               stated that he had found no evidence that Maurice had
               transferred or concealed property ‘within one year before
               the date of the filing of the petition’ (NYSCEF Doc. No.
               150, Bankruptcy Proceeding, motion to approve
               stipulation paragraph 8 [emphasis added]), and although
               the trustee investigated “transactions” related to Turnberry
               and 345 Broadway, and the Laura Enbar Asset Trust and
               the “Lawrence Enbar Trust” (see NYSCEF Doc No. 150,
               Bankruptcy Proceeding, motion to approve Stipulation,
               paragraph 12), it is unclear whether the ‘Lawrence Enbart
               Trust’ examined by the trustee is the ‘Enbar Lawrence
               Trust,’ identified throughout plaintiffs’ papers as allegedly
               consisting of both pieces of real property.

        See, Docket No. 32 at Exhibit D, p. 20.

        In Securities Investor Protection Corporation v. Bernard L. Madoff

  Investment Securities LLC, 490 B.R. 59 (S.D.N.Y. 2013), the Madoff Court held

  that non-fraudulent conveyance causes of action such as those in the New York

  action, do not get estopped, notwithstanding bankruptcy proceedings. In Madoff, the

  bankruptcy trustee claimed that the plaintiffs, who had brought suit against four non-

  debtor investment funds which were related to Bernard Madoff’s company

  (“BLMIS”), were subject to the automatic stay. The trustee sought “the return of

  certain fraudulent conveyances allegedly transferred from BLMIS” to the

  defendants, and argued that “a third-party action to recover fraudulently transferred

  property is properly regarded as undertaken ‘to recover a claim against the debtor’”.
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  Id. at 67. The Madoff court ruled that the proposed settlement between the parties

  did not violate the automatic stay, as the plaintiffs’ claims were “separate and

  distinct” from the claims of the BLMIS estate and not the property of the BLMIS

  estate. Id. Where, as is the case at bar, the “non-debtor’s liability rests upon his own

  breach of duty, a stay clearly cannot be extended to the non-debtor.” Id. at 68. This

  analysis was adopted by the Bankruptcy Court in properly deciding the underlying

  motion.

        Further, “[t]he automatic stay can apply to non-debtors, but normally does so

  only when a claim against the non-debtor will have an immediate adverse economic

  consequence for the debtor’s estate.” Queenie, Ltd. V. Nygard Intl., 321 F.3d 282,

  287 (2d Cir. 2003). At bar, there have been no allegations that there will be any

  economic consequence for the debtor’s estate whatsoever, should the New York

  action be correctly permitted to continue.



                                        POINT II

     THE BANKRUPTCY COURT DID NOT DEFER TO THE NEW YORK
        COURT, IT SIMPLY REACHED THE SAME, INESCAPABLE
                          CONCLUSION

        Plaintiffs go on to argue, with no authority, that the Bankruptcy Court should

  not have deferred to the New York Court. First, Plaintiffs fail to state where they

  believe the Bankruptcy Court “deferred” to the New York Court in any way. Rather,

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  the Bankruptcy Court simply agreed with the New York Court’s ruling as to the clear

  and unambiguous meaning of the Stipulation. See, Docket No. 43.

         In an attempt to avoid the preclusive effect of the New York Decision and

  Order on this issue, Plaintiffs argue that the Bankruptcy Court has exclusive

  jurisdiction to interpret the settlement agreement reached between themselves and

  the non-debtor Enbar entities and the Chapter 7 trustee with respect to ancillary

  claims. Notably, the trustee settlement expressly provided that creditors were not

  bound by the agreement. See, Exhibit “B”. Bankruptcy courts, as courts of limited

  jurisdiction, may exercise subject matter jurisdiction on two grounds: i) ancillary

  jurisdiction, and ii) statutory jurisdiction under 28 U.S.C. Section 1334. Here, only

  the first basis is relevant.

         In Kokkonen v. Guardian Life Ins. Co. of America, 511 U.S. 375 (1994), the

  Supreme Court held that federal courts may assert ancillary jurisdiction for two

  separate, though sometimes related purposes: 1) to permit disposition by a single

  court of claims that are, in varying respects and degrees, factually interdependent,

  and 2) to enable a court to function successfully, to manage its proceedings, vindicate

  its authority, and effectuate its decrees. Absent retention of jurisdiction over a

  settlement, “enforcement of the settlement agreement is for state courts, unless there

  is some independent basis for federal jurisdiction.” Id. The Order approving the

  settlement must either expressly retain jurisdiction over the agreement or incorporate

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  the terms of the agreement in the order. Id. Here, while the Bankruptcy Court

  retained jurisdiction over the settling parties and interpretation of the trustee

  stipulation, the stipulation was specifically crafted so as not to be binding on any

  creditors or otherwise affect the rights of any creditors of the Estate. It therefore

  follows: 1) this Court has no independent basis to hear or otherwise stay the

  Goodsteins’ New York action, 2) the stipulation did not incorporate or otherwise

  release claims between the Goodsteins and non-debtor entities, 3) the Court did not

  retain jurisdiction over claims between creditors of the Estate and non-debtor

  entities, 4) the resolution of the Goodsteins New York action will have no impact on

  the administration of the Estate or distribution to creditors of the Estate.

        In In re Valdez Fisheries Development Assoc., Inc., 439 F.3d 545 (9th Cir.

  2006), in ruling that the dismissal order did not retain jurisdiction or incorporate the

  terms of the settlement agreement and the court lacked post-dismissal ancillary

  jurisdiction, the Court was asked to decide whether a bankruptcy court, which had

  approved a settlement agreement, had jurisdiction to interpret that agreement in an

  adversary proceeding between two creditors brought after the closing and dismissal

  of the underlying bankruptcy case. The 9th Circuit determined that the bankruptcy

  court’s review of the release of a creditor’s state court claims against another creditor

  could not “conceivably alter the debtor’s rights, liabilities, options, or freedom of

  actions, or in any way impact upon the handling of the administration of the

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  bankruptcy estate” and, therefore, the bankruptcy court lacked ancillary jurisdiction

  to enforce the agreement (quoting In re Hanks, 182 B.R. 930 (Bankr. N.D. Ga. 1995)

  ((the enforcement of the settlement agreement cannot have a conceivable effect on

  the bankruptcy case as no case is in existence at that time)).

        Here, Enbar received his discharge; claims of all creditors have been

  discharged, with the determination of dischargeability as to the Goodsteins claims

  the only remaining issue in the case. The “administration” of this case has long been

  completed. The Goodsteins prosecution of their fraudulent transfer claims against

  the non-debtor Enbar entities has no impact on any distribution to Enbar’s creditors

  or the administration of the Estate; the outcome of the NY action will have no

  bearing on distributions to creditors of this Estate. Thus, the Bankruptcy Court has

  no role in the resolution of the Goodsteins fraudulent transfer claims against the non-

  debtor entities. The stipulation with the trustee has been fully implemented; the

  stipulation specifically provides that the claims of creditors and other parties are not

  impacted by the settlement. Had the non-debtor entities removed the New York

  Action to the Bankruptcy Court prior to the discharge being entered, then the

  Bankruptcy Court may have, in its discretion, taken jurisdiction of that action. See,

  Valdez Fisheries at 549. Instead, the non-debtor Enbar entities chose to litigate the

  New York action, the New York Court issued an extensive opinion that the action is

  not stayed because of the Enbar bankruptcy; and Enbar and his family members are

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  now attempting an end-around, forum shop to see if they can get this Court to stay

  the New York action.

        Thus, the question of whether the Bankruptcy Court maintains jurisdiction

  over the interpretation of the trustee settlement agreement is necessary in order to

  maintain its authority is not at issue herein. The stipulation already carved out claims

  of creditors and specifically recites that the settlement has no effect on creditors.

  There is nothing left to administer in the bankruptcy case and the continued

  prosecution of the New York action against the non-debtor entities has no impact on

  Enbar, the Estate or other creditors of the Estate, all of whom are now discharged.

  See, In re FedPak Sys., Inc., 80 F.3d 207 (7th Cir. 1995) (the bankruptcy court did

  not have jurisdiction to interpret its own order when resolution of the dispute would

  not affect the amount of assets available for distribution to creditors of the estate).

  See, In re Conseco, Inc., 305 B.R. 281 (Bankr. N.D. Ill. 2004) (court could not assert

  ‘related to’ jurisdiction as this was a dispute between creditors brought three months

  after almost all of the assets of the estate were distributed; resolution of the case will

  not affect the amount of assets for distribution from the estate or the allocation of

  estate assets between the plaintiffs and defendants-it will have no tangible impact on

  the estate and is precisely the type of “internecine conflict” which the court does not

  have jurisdiction); see, also, Zerand-Bernal Group, Inc. v. Cox, 158 B.R. 459

  (Bankr. N.D. Ill. 1993) (ancillary jurisdiction applied only in unusual circumstances

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  and is strictly limited to cases in which the non-bankruptcy forum cannot provide

  adequate relief).

                                   CONCLUSION

        Wherefore, Defendants respectfully request that this Court affirm the

  Decision of the Bankruptcy Court, and for such other and further relief as this Court

  may deem just and proper.


  Respectfully,

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